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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


FRANK L. GAICH, an individual, and
BARBARA GAICH, his wife
                                                        CIVIL ACTION No. 15-922
             Plaintiffs,                                ELECTRONICALLY FILED


V S.


VIMALA RAMESH, M.D.; UPMC
PASSAVANT d/b/a UPMC PASSAVANT —
CRANBERRY; and
UNIVERSITY OF PITTSBURGH
PHYSICIANS,

             Defendants.



            STIPULATION OF DISMISSAL PURSUANT TO F.R.C.P. 41(A)(ii)

       Pursuant to F.R.C.P. 41(A)(ii) it is hereby agreed between counsel for plaintiffs, Frank

and Barbara Gaich, and counsel for defendants, Vimala Ramesh, M.D.; UPMC Passavant d/b/a

UPMC Passavant-Cranberry; University of Pittsburgh Physicians, that all claims of plaintiffs, are

dismissed with prejudice.

Respectfully submitted by,

GOLDBERG, PERSKY & WHITE,P.C.


/5/ Jason E. Luckasevic
Jason E. Luckasevic
PA Attorney Id. No. 85557
 1030 Fifth Avenue
Pittsburgh, PA 15219
(412) 471-3980
jluckasevic@gpwlaw.com
Counsel for Plaintiffs: Frank and Barbara
Gaich
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Dated: 9/8/2015



THOMSON, RHODES & COWIE, P.C.


/s/ John K Heisey
John K. Heisey, Esquire
Thomson, Rhodes & Cowie, P.C.
 1010 Two Chatham Center
Pittsburgh, PA 15219
Email: jkh@trc-law.com
412-232-3400
Counsel for all Defendants

Dated: 9/8/15
